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                                               EXHIBIT A
                                                                                           7/21/10
                                     KEVIN LANE KELLER


Tuck School of Business                                         10 Morgan Rd.
Dartmouth College                                               Etna, NH 03750
Hanover, NH 03755-9011                                          (603) 643-9811 (h)
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EDUCATION

Ph.D.          Duke University
               Fuqua School of Business
               Major Field: Marketing (May 1986)

M.B.A.         Carnegie-Mellon University
               Graduate School of Industrial Administration
               Area of Concentration: Marketing (May 1980)

A.B.           Cornell University (with distinction in all subjects)
               College of Arts and Sciences
               Majors: Economics and Mathematics (June 1978)


PROFESSIONAL EXPERIENCE

Dartmouth College, Tuck School of Business
      E.B. Osborn Professor of Marketing, July 1998 to present

Duke University, Fuqua School of Business
      Visiting Professor of Business Administration, May 1997 to June 1998
      Instructor, September 1984 to December 1984

University of North Carolina at Chapel Hill, Kenan-Flagler Business School
       Professor of Marketing, July 1995 to May 1997

Stanford University, Graduate School of Business
       Associate Professor of Marketing (with tenure), June 1993 to July 1995
       Associate Professor of Marketing, September 1990 to June 1993
       Assistant Professor of Marketing, July 1987 to September 1990

University of New South Wales, Australian Graduate School of Management
       Visiting Professor, September 1990 to June 1991

University of California, Berkeley, Schools of Business Administration
       Assistant Professor of Marketing, January 1986 to June 1987

Bank of America, San Francisco, CA
       Marketing Consultant, April 1981 to June 1982
       Assistant Marketing Consultant, July 1980 to April 1981
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PUBLICATIONS

Didow, Nicholas M., Kevin Lane Keller, Hiram C. Barksdale and George R. Franke (1985),
    "Improving Measure Quality by Alternating Least Squares Optimal Scaling," Journal of Marketing
    Research, 22 (February), 30-40.

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    Decision Effectiveness," Journal of Consumer Research, 14 (September), 200-213

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    Cues on Brand Evaluations," Journal of Consumer Research, 14 (December), 316-333.

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    Effectiveness and Information Overload," Journal of Consumer Research, 15 (March), 504-508.

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    Campaigns," Journal of Marketing Research, 26 (May), 149-163.

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    Research, 28 (February), 42-57.

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    Exposure, Memory, and Choice, ed. Andrew A. Mitchell, Hillsdale, NJ: Lawrence Erlbaum
    Associates, 11-48.

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    Extension Research," International Journal of Marketing Research, 10, 55-59.
Mark Forehand and Kevin Lane Keller (1996), "Initial Retrieval Difficulty and Subsequent Recall in
   an Advertising Setting," Journal of Consumer Psychology, 5(4), 299-323.

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    Marketing Communications, eds. Jeri Moore and Esther Thorson, Mahwah, NJ: Lawrence
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    Suggestiveness on Advertising Recall," Journal of Marketing, 62 (January), 48-57.
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    Credibility on a Company’s Brand Extensions," Corporate Reputation Review, 1 (August), 356-378.

Keller, Kevin Lane (1998), “Measuring Customer-Based Brand Equity,” in Perspectives of Modern Brand
    Management, ed. Dr Franz-Rudolf Esch, 989-1010.

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    Management, ed. Dr Franz-Rudolf Esch, 705-720.

Kevin Lane Keller (1998), “Understanding Brand Equity: Answers to Ten Common Branding
    Questions,” Exchange, (Winter), 15-19.

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   Validating a Model for Optimizing Brand Equity,” Journal of Product and Brand Management, 8 (3),
   170-184.

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    Revitalization Strategies,” California Management Review, 41 (3), 102-124.

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    Management, 6 (5), 315-331.

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     TV-Print Advertising Campaigns," Marketing Science Institute Report No. 99-120.

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    Organization, eds. Majken Schultz, Mary Jo Hatch, Oxford University Press.

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    of Brand Extensions: The Role of Dominant Parent Brand Associations and Communication
    Strategies," Journal of Advertising, 29 (4), 1-11.

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    Perspectives on Integrated Marketing Communication Programs," Journal of Marketing
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    Strongest Brands,” in The Encylopedia of Brands and Branding in South Africa, Affinity Advertising
    and Publishing.

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    Ingredient Branding Strategies on Host Brand Extendibility,” Journal of Marketing, 66 (January)
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Steven Hoeffler and Kevin Lane Keller (2002), “Building Brand Equity through Corporate Societal
    Marketing,” Journal of Public Policy and Marketing, 21 (1), 78-89.

Tim Ambler, C.B. Bhattacharya, Julie Edell, Kevin Lane Keller, Katherine N. Lemon, and Vikas
    Mittal (2002), “Relating Brand and Customer Perspectives on Marketing Management,” Journal
    of Service Research, August, 5 (1), 13-25.

Kevin Lane Keller, Brian Sternthal, and Alice Tybout (2002), “Three Questions You Need to Ask
    About Your Brand,” Harvard Business Review, September, 80 (9), 80-89.

Kevin Lane Keller (2002), “Branding and Brand Equity,” in Handbook of Marketing, eds., Bart Weitz
    and Robin Wensley, Sage Publications, London, 151-178.

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    MA: Marketing Science Institute).

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    Journal of Consumer Research, 29 (4), 595-600.

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    Management, May/June, 26-31.

Steven Hoeffler and Kevin Lane Keller (2003), “The Marketing Advantages of Strong Brands,”
    Journal of Brand Management, 10 (6), 421-445.

Kevin Lane Keller and Y.L.R. Moorthi (2003), “Branding in Developing Markets,” Business Horizons,
    May-June, 49-60.

Margaret Campbell and Kevin Lane Keller (2003), "Brand Familiarity and Ad Repetition Effects,”
    Journal of Consumer Research, September, 30 (2), 292-304.

Kevin Lane Keller (2003), “Understanding Brands, Branding, and Brand Equity,” Interactive
    Marketing, 7-20.

Patrick Tickle, Kevin Lane Keller, and Keith Richey (2003), “Branding in High-Technology
     Markets,” Market Leader, 22 (Autumn), 21-26.

Jeff Manning and Kevin Lane Keller (2003), “Making Advertising Work: How GOT MILK?
     Marketing Stopped a 20 Year Sales Decline,” Marketing Management, January/February.

Kevin Lane Keller and Sanjay Sood (2003), “Brand Equity Dilution,” MIT Sloan Management Review,
    45 (1), Fall, 12-15.

Frederick E. Webster, Jr. and Kevin Lane Keller (2004), “A Roadmap for Branding in Industrial
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   Insights and Research Priorities,” Journal of Retailing, 80, 31-342.

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    18-23.

Ed Lebar, Phil Buehler, Kevin Lane Keller, Monika Sawicka, Zeynep Aksehirli, and Keith Richey
    (2005), “Brand Equity Implications of Joint Branding Programs,” Journal of Advertising Research,
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    Marketing Management,” in Does Marketing Need Reform?, eds. Jagdish Sheth and Raj Sisodia,
    300-305.

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    Don'ts, eds. Rajiv Grover and Marco Vriens, 546-568.

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    Management, ed. Dr Franz-Rudolf Esch.

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    Priorities,” Marketing Science, 25 (November-December), 740-759.

Paul Bloom, Steve Hoeffler, Kevin Lane Keller, and Carlos Basurto (2006), “Enhancing Brand
    Equity By Supporting Social Causes,” MIT Sloan Management Review, 47 (2), 49-55.

Kevin Lane Keller and Keith Richey (2006), “The Importance of Corporate Brand Personality Traits
    to a Successful 21st Century Business,” Journal of Brand Management, 14 (September-November),
    74-81.

Robert Leone, Vithala Rao, Kevin Lane Keller, Man Luo, Leigh McAlister, Rajendra Srivatstava
   (2006), “Linking Brand Equity to Customer Equity,” Journal of Service Research, 9 (November),
   125-138.

Kevin Lane Keller (2007), “Advertising and Brand Equity,” in Handbook of Advertising, eds. Gerard J.
    Tellis and Tim Ambler, Sage Publications, 54-70.

Keller, Kevin Lane (2008), Strategic Brand Management, 3rd ed., Upper Saddle River, NJ: Prentice-Hall.
Kevin Lane Keller (2008), Best Practice Cases in Branding, 3rd ed., Upper Saddle River, NJ: Prentice-
    Hall.

Kevin Lane Keller (2008), “The Brand Behind the Brand,” Commentary, Harvard Business Review,
    February 2008.

Kevin Lane Keller (2008), Foreward to Public Health Branding: Applying Marketing for Social Change, eds.
    W. Douglas Evans and Gerard Hastings, Oxford University Press.

Don Lehmann, Kevin Lane Keller, and John Farley (2008), “The Structure of Survey-Based Brand
   Metrics,” in special issue, “Branding in the Global Marketplace,” of Journal of International
   Marketing, 16 (4), 29-56.

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     NJ: Prentice-Hall.
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    Business Brand Management: Theory, Research, and Executive Case Study Exercises in Advances in Business
    Marketing & Purchasing series, Volume 15, eds. Mark Glynn and Arch Woodside, 11-32.

Kevin Lane Keller (2009), “Building Strong Brands in a Modern Marketing Communications
    Environment,” in special issue, “The Integration of Integrated Marketing Communications:
    IMC in a Changing Landscape,” of Journal of Marketing Communications, special issue editors, Don
    E. Schultz and Charles Patti, 15 (April-July), 139-155.

Kevin Lane Keller (2009), “Managing the Growth Tradeoff: Challenges and Opportunities In
    Luxury Branding” in special issue, “Luxury Branding,” of Journal of Brand Management, special
    issue editor Uche Okonkwo, 16 (March-May), 290-301.

Kevin Lane Keller (2009), “Challenges to Branding: Five Secrets to Brand Success,” Market Leader,
    Quarter 2, 45-47.

Kevin Lane Keller and Frederick E. Webster Jr. (2009), “Hitting the Branding Sweetspot: Achieving
    Marketing Balance by Reconciling Marketing Trade-offs,” Marketing Management, July/August,
    Vol. 18, 12-17.

Susan Heckler, Kevin Lane Keller, Michael J. Houston, and Jill Avery (2009), "Building Brand
    Knowledge Structures: Elaboration and Interference Effects in the Processing of Sequentially
    Advertised Brand Benefit Claims," Journal of Marketing Communications, forthcoming.

Kevin Lane Keller and Don Lehmann (2009), “Assessing Brand Potential,” in special issue, “Brand
    Value and Valuation,” of Journal of Brand Management, special issue editors, Randall Raggio and
    Robert P. Leone, Vol. 17, No.1, 6-7.

Keller, Kevin Lane (2009), "Leveraging Sponsorship Through Integrated Marketing", in Day, H.
    (ed.), Sponsorship: From Theory to Practice and All the Latest Trends, The Marketing & Management
    Collection, Henry Stewart Talks Ltd, London.

Kevin Lane Keller (2010), “Global Branding,” in Wiley International Encyclopedia of Marketing edited by
    Jagdeth Sheth and Naresh Malhotra, in Volume 1 International Marketing, edited by Daniel Bello
    and David Griffith, John Wiley & Sons Limited, forthcoming.

Steve Hoeffler, Paul Bloom, and Kevin Lane Keller (2010), “Achieving Social Change through
    Corporate Societal Marketing: Incorporating a Consumer Orientation into CSR Programs,”
    Journal of Public Policy & Management, forthcoming.

Kevin Lane Keller (2010), “Modern Branding Challenges,” Forward to Brands and Brand Management:
    Contemporary Research Perspectives, eds. Barbara Loken, Rohini Ahluwalia, and Michael J. Houston,
    forthcoming.

Kevin Lane Keller (2010), “Brand Equity Management in a Multichannel, Multimedia Retail
    Environment,” special issue, Journal of Interactive Marketing, co-editors Venkatesh Shankar and
    Manjit Yadav, forthcoming.

Kevin Lane Keller (2010), “Brand Development Process and Planning Brand Identity,” for Strategic
    Brand Management in Next Practices in Marketing, ed. Raj Srivastava

Kevin Lane Keller (2010), “Brand Revitalization,” for Strategic Brand Management in Next Practices in
    Marketing, ed. Raj Srivastava
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Kevin Lane Keller (2010), Forward to Kelly Tian and Lily Dong, Imagining China, Imagining Brands

Kevin Lane Keller (2010), Forward to Christian Dussart, Creative Self-Destruction: An Integrated Set of
    New Business Logics to Escape Commoditization Hell

Kevin Lane Keller (2010), “The New Branding Imperatives: Insights for the New Marketing
    Realities,” Marketing Science Institute, Fast Forward series.

Kevin Lane Keller and Philip Kotler (2011), “Branding in Business-to-Business Firms,” in Business to
    Business Marketing Handbook, eds. Gary L. Lilien and Rajdeep Grewal, Edward Elgar Publishing,
    forthcoming.

Kevin Lane Keller (2011), “Branding Strategy,” in Marketing Strategy Handbook, eds. Venky Shankar
    and Gregory Carpenter, Edward Elgar Publishing, forthcoming.


WORKING PAPERS

Kevin Lane Keller and Sanjay Sood, "The Effects of Product Experience and Branding Strategies on
    Parent Brand Evaluations and Brand Equity Dilution," under review, Journal of Marketing
    Research.

Julie A. Edell and Kevin Lane Keller, "Analyzing Media Interactions: The Effects of Coordinated
     TV-Print Advertising Campaigns," invited revision, Journal of Marketing Research.

Kalpesh Kaushik Desai, Kevin Lane Keller, and Wayne Hoyer, “Abstract vs. Concrete Challenge
    Strategies in the Face of Competitive Entry of Extensions from Mega Brands,” to be submitted
    to the Journal of Advertising.

Philip Kotler and Kevin Lane Keller, “It is Time to Bury the 4Ps and Replace Them With Holistic
     Marketing,” under review, Harvard Business Review.


MANUSCRIPTS IN PREPARATION

Kalpesh Kaushik Desai and Kevin Lane Keller, “Understanding Channel Fit: The Reciprocal
    Effects of Product and Retailer Brand Images,” targeted for Journal of Marketing

Scott Bedbury and Kevin Lane Keller, “King of the World: Brand Supremacy Inside and Outside
    Your Company,” targeted for Harvard Business Review

Kevin Lane Keller and Sanjay Sood, “A Conceptual Model of Brand Extension Effects: An
    Integrative Review,” targeted for Foundations and Trends in Marketing

Kevin Lane Keller and Keith Richey, “Strengthening a Brand Through Sponsorship,” for Journal of
    Sponsorship.


WORK IN PROGRESS

The Stability of Brand Preferences (with Peter Golder and Tingting Fan)
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The Multiple Roles of Fit between Partners in Brand Alliance Attitude Formation (with Bendik
    Samuelson)

Brand Extension Dynamics (with Donald Lehmann, Jeffrey Parker, and Martin Schleicher)

Brand Proficiency and Propensity (with Meg Campbell)


RESEARCH INTERESTS

Marketing Management: Planning, Programs, and Processes

Strategies and Tactics to Build, Measure, and Manage Brand Equity

Design, Implementation, and Evaluation of Integrated Marketing Communication Programs


TEACHING INTERESTS

MBA:           Marketing Management; Brand and Product Management; Advertising and
               Communication Management

PhD:           Behavioral Research in Marketing: Theories and Methods

Executive:     Designing, Implementing, and Measuring Branding Programs and
               Integrated Marketing Communications Programs


PRESENTATIONS

"Effects of Information Quantity and Quality on Decision Effectiveness," ORSA/TIMS Marketing
    Science Conference (February 1984).

"Memory Factors in Advertising: The Effects of Advertising Retrieval Cues on Brand Evaluations,"
   Association for Consumer Research Conference (October 1985 and October 1986), American
   Marketing Association Educators' Conference (August 1986), and American Psychological
   Association Annual Meeting (August 1986), Marketing Science Institute Advertising Steering
   Group (October 1986).

"Memory Retrieval Factors and Advertising Effectiveness," Sandage Symposium III: Contending
   Psychological Approaches to Advertising, University of Illinois (June 1987), Advertising and
   Consumer Psychology Conference (May 1989), Marketing Research Society of Australia
   Conference (October 1990), University of Melbourne Faculty Research Seminar (October
   1990), University of Western Australia Faculty Research Seminar (April 1991).

"Consumer Evaluations of Brand Extensions," Marketing Science Institute Brand Equity
   Conference (February 1988), ORSA/TIMS Marketing Science Conference (February 1988),
   Association for Consumer Research Conference (October 1988).

"Memory and Evaluation Effects in Competitive Advertising Environments," University of Florida
   Faculty Research Seminar (April 1988), Pennsylvania State University Faculty Research Seminar
   (June 1988), Stanford Marketing Camp (August 1988), Association for Consumer Research
   Conference (October 1989).
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"Cue Compatibility and Framing in Advertising," Association for Consumer Research Conference
    (October 1988), Wharton Faculty Research Seminar (March 1989), University of Michigan
    Faculty Research Seminar (November 1989), University of Arizona Faculty Research Seminar
    (March 1990).

"The Effects of Sequential Introduction of Brand Extensions," Association for Consumer Research
    Conference (October 1989), University of Washington Faculty Research Seminar (December
    1989), Duke University Faculty Research Seminar (July 1990).

"Conceptualizing, Measuring, and Managing Customer-Based Brand Equity," University of
   Auckland Faculty Research Seminar (April 1991), Cornell University Faculty Research Seminar
   (April 1992), New York University Faculty Research Seminar (April 1992), Columbia University
   Marketing Camp (June 1992), American Marketing Association 13th Annual Marketing
   Research Conference (September 1992), Marketing Science Institute Trustees Meeting
   (November 1992), Harvard University (February 1993).

"The Interaction of Brand Name and Brand Positioning Strategies on Advertising Effectiveness
    Over Time," Association for Consumer Research Conference (October 1991), University of
    California, Irvine Faculty Research Seminar (December 1993), Duke University Faculty
    Research Seminar (March 1994).

"Retrieval Difficulty and Subsequent Recall in an Advertising Setting," Association for Consumer
    Research Conference (October 1992).

"The Effects of Corporate Images and Branding Strategies on New Product Evaluations,"
    Association for Consumer Research Conference (October 1992), Sheth Foundation Winter
    Marketing Camp, University of Pittsburgh (February 1995), Marketing Science Institute
    (January 1996).

“Dave Aaker: A Wizard, A True Star,” Paul D. Converse Award Symposium (May 1996)

"Building and Measuring Brand Equity," Association for National Advertisers, Corporate
    Communications Conference (October 1995), Marketing Science Institute, (September 1996)

"Brand Knowledge and Advertising Effectiveness: Learning and Persuasion Perspectives,"
    University of Texas Faculty Research Seminar (March 1996), University of Florida Faculty
    Research Seminar (March 1996), University of California at Berkeley Faculty Research Seminar
    (September 1996).

“Global Brand Equity,” Doctoral Internationalization Consortium, University of Texas (June 1997)

"The Effects of Branding Strategies and Product Experience on Brand Equity," University of
    Rochester Faculty Research Seminar (June 1997), Duke University Faculty Research Seminar
    (August 1997), University of Massachusetts, University of Connecticut, and University of
    Rhode Island Marketing Colloquium (September 1997), London Business School Faculty
    Research Seminar (October 1997), UCLA Marketing Camp (March 1998), Emory University
    Faculty Research Seminar (April 1998), MSI Brand Architecture Conference (March 2005),
    University of Buffalo (March 2005), TCU (April 2008)

“Branding the B-School,” New England Colleges of Business Administrators Conference
    (September 1997)
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"Branding Perspectives on Social Marketing," Association for Consumer Research Conference
    (October 1997)

 “New Perspectives on Integrated Marketing Communications,” Marketing Science Institute
    Conference on Fundamental Issues and Directions in Marketing (June 1998) and Brandworks
    University Conference (July 1998).

"Analyzing Media Interactions: The Effects of Coordinated TV-Print Advertising Campaigns,"
    University of New South Wales Faculty Research Seminar (November 1998), Northwestern
    University Faculty Research Seminar (March 1999), Ohio State University Faculty Research
    Seminar (April 1999).

“Brand Equity Research: Progress and Priorities,” University of New South Wales Faculty Research
    Seminar (November 1998).

“The Effects of Brand Expansions and Ingredient Branding Strategies on Parent Brand
    Extendibility,” Duke University Faculty Research Seminar (September 1999), Univeristy of
    Toronto Faculty Research Seminar (April 2000), INSEAD Faculty Research Seminar
    (September 2000), University of Minnesota Faculty Research Seminar (March 2001), Boston
    University Faculty Research Seminar (April 2001).

“Understanding Global Branding,” Georgetown University Marketing Retreat (April 2001)

“Building Strong Brands: Lessons from the World’s Top Marketers,” Rice University (December
    1999), Japanese Marketing Association (March 2001), Vega School of Brand Communications
    (South Africa) (May 2001), Gordon Institute of Business Science (South Africa) (December
    2002), N.C. State University College of Textiles (September 2005), Taiwan (September 2006).

“Building Brand Equity through Societal Marketing,” MSI Conference on Marketing, Corporate,
    Social Initiatives, and the Bottom Line (March 2001)

“The Future of Branding,” Advertising Research Foundation (April 2002)

“Building Customer-Based Brand Equity,” MSI Conference on Brand Loyalty (April 2002)

“Building and Managing Corporate Brand Equity,” Conference on Corporate Reputation (May
    2002)

"Branding and Brand Health," MSI/Wharton/McKinsey CMO Summit (September 2002)

“The Extendibility and Vulnerability of Abstract Brand Images,” Harvard Business School (April
    2003), University of Colorado at Boulder (February 2004), Northwestern Marketing Camp
    (September 2004), Babson College Research Colloquium (April 2005)

“Consumer Responses to Social and Commercial Sponsorships,” MSI Integrating Social
   Responsibility and Marketing Strategy Conference, Boston University (September 2003)

"Orchestrating Marketing Communications to Build Brand Equity," Marketing Science Institute
    Conference on Brand Orchestration, Orlando, FL (December 2003)

“Making Marketing Better” University of California at Berkeley (November 2004)

“Understanding Brand Alliances,” Brand Alliance Research Conference, Oklahoma State University
   (April 2005)
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“Marketing Excellence: The New Marketing Imperatives,” Norway (May 2005), Brazil (June 2005),
   Singapore (July 2005), Tokyo (July 2005), Hong Kong (November 2005), Sweden (October
   2006)

“Building Strong Brands: Three Models for Developing and Implementing Brand Plans,”
    University of Massachusetts (February 2006), University of Kansas (April 2006), University of
    Minnesota (May 2006), Brigham Young University (March 2008), University of Arizona
    (November 2008)

“Developing and Exploiting Brand Equity,” Brand Conclave 2006, Kolkata, India (July 2006)

“The Future of Business Education,” Duke University (December 2006)

“Branding Excellence: The New Branding Imperatives,” Nordic Branding Academy, Stockholm,
    Sweden (October 2006), George Washington University (March 2007), University of Wisconsin
    (March 2007), World Management Congress, Brazil (June 2007), Global Marketing Network,
    London (October 2007), Brand Fair 4, Belgrade, Serbia (February 2008), Jamaica (April 2008),
    Croatia (September 2008), Iceland (April 2010)

“Building Strong Brands Through Sponsorship,” IEG 24th Annual Sponsorship Conference (March
    2007)

“Branding India,” Brand India Consortium, University of Connecticut (May 2007)

“Understanding Brand Extensions,” Tuck Overseers (May 2007)

“Achieving Brand Resonance,” MSI Creating and Cultivating Customer Connections Conference,
    University of Minnesota (June 2007)

“Frontiers in Branding Research,” Norwegian School of Management, Brand Institute, Oslo,
    Norway (August 2007)

“Building Strong Brands In an Experience Economy,” Nordic Experience Economy Conference,
    Kristiansand, Norway (August 2007)

“The Seven Deadly Sins of Brand Management,” 2008 Dyess Lectureship in Marketing, Texas
    Christian University (April 2008)

“Hitting the Branding Sweetspot: How to Best Balance Marketing Trade-offs,” Chicago AMA Brand
    Smart Conference (June 2008), Porto, Portugal (March 2009), Marketing Science Institute
    conference on New Art and Science of Branding (September 2009)

“Marketing Excellence: How to Become a Better Marketer,” Carnegie-Mellon University (September
   2008)

“Creating a Global Brand,” World Knowledge Forum, Seoul, Korea (October 2008)

"Not-for-Profit and Cause Branding," George Washington University (April 2009)

“Brand Building in Good Times and in Bad,” Tepper School of Business New York City Alumni
    Chapter (May 2009)

“Branding Today and Tomorrow,” Universidade de São Paulo, São Paulo, Brazil (September 2009)
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“The Power of the Retail Brand,” Brazilian Association of Supermarkets (ABRAS ) annual
    conference, São Paulo, Brazil (September 2009)

“Brand Resonance as a Strategic Marketing Tool,” American Marketing Association “Meeting of the
    Minds” webinar series (February 2010), Consumer-Brand Relationship Colloquium, Rollins
    College (April 2010)

“The New Branding Imperatives,” Michigan State University (April 2010), University of Alaska
    Fairbanks (April 2010),

“Blending Branding Theory & Practice: Insights & Lessons From Applying the Brand Resonance
    Model,” Customer Insights Conference, Yale University (May 2010)


AWARDS AND HONORS

Dissertation Awards: American Marketing Association (Honorable Mention, August 1986),
    American Psychological Association Division 23 (First Place, August 1986), Association for
    Consumer Research (Honorable Mention, October 1986), Marketing Science Institute (First
    Place, August 1984)

American Marketing Association Doctoral Consortium: Fellow 1984; Faculty 1988-1991, 1996,
   1998, 2002-2005, 2007-2010

Finalist, Best Paper in Journal of Consumer Research Award for 1986-1988

Runner-up, Marketing Science Institute Research Competition on Brand Equity (November 1989)

James and Doris McNamara Faculty Fellow for 1989-90

Outstanding Reviewer Award for Journal of Marketing Research for 1991-92

Fletcher Jones Faculty Scholar for 1992-93

1994 Harold H. Maynard award for Journal of Marketing article in 1993 making the most significant
    contribution to marketing theory and thought

Paul J. Rizzo Faculty Fellow for 1995-97

Finalist, 1997 William F. O’Dell Award for Journal of Marketing Research

2003 Sheth Foundation/Journal of Marketing Award recognizing articles published in the Journal of
    Marketing that have made lasting contributions to the discipline of marketing

2005 ZIBS Distinguished Theory Award (from Zyman Institute of Brand Science (ZIBS) at Emory
    University's Goizueta Business School)

Two articles, "Consumer Evaluations of Brand Extensions" and "Conceptualizing, Measuring, and
   Managing Customer-Based Brand Equity" named by INFORMS Society for Marketing Science
   in March 2007 to its list of Top 20 marketing science papers written in the past 25 years that
   have most affected the practice of marketing science
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2009 Twenty-Five Year Consortium Fellow Research Excellence Award from American Marketing
    Association Foundation, 2009

2010 Outstanding Author Contribution Award for "Building a Strong Business-to-Business Brand"
    published in Advances in Business Marketing and Purchasing as part of the Literati Network Awards
    for Excellence 2010.


PROFESSIONAL ACTIVITIES

Editorial      Journal of Consumer Research (1994-2002), Journal of Marketing Research (1992-
Boards         2002), Journal of Marketing (1993-2002, 2008-), Journal of Brand Management (1995-),
               Asian Journal of Marketing (1999-), Market Leader (2003-), Journal of Sponsorship (2007-)

Ad Hoc         Marketing Science, Journal of Consumer Psychology, Sloan Management
Reviewer:      Review, California Management Review, Corporate Reputation Review,
               Harvard Business Review.

Ad Hoc         Association for Consumer Research Conference (1987-), American
Reviewer:      Marketing Association Educators' Conference (1988-), American Marketing
               Association Doctoral Dissertation Competition (1992-), Marketing Science Institute
               Doctoral Dissertation Competition (1991-)

Academic       Marketing Science Institute (2000-2006)
Trusteee:

Judge:         JCR Ferber Awards (1999)

Co-Chair:      1994 Annual Conference of the Society for Consumer Psychology

Member:        American Marketing Association Knowledge Coalition (2005-2007)

Member:        American Marketing Association, Association for Consumer Research, The Institute
               for Management Science


INDUSTRY ACTIVITIES

Multiple engagements with the following firms:

   Accenture                             Goodyear                               Nordstrom
   Allstate                              Google                                 Ocean Spray
   American Express                      Hasbro                                 Procter & Gamble
   Blue Cross Blue Shield                Kodak                                  Red Hat
   Campbell Soup                         Intel                                  Samsung
   Coca-Cola                             Levi Strauss                           Shell Oil
   Disney                                Mayo Clinic                            Starbucks
   Eli Lilly                             Miller Brewing                         Tokyu
   ExxonMobil                            McNeil Labs                            Unilever
   Ford                                  MTV                                    Young & Rubicam
   General Mills                         Nivea

Press interviews (sample):
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   New York Times                                         Fortune
   USA TODAY                                              Forbes
   Los Angeles Times                                      Business Week
   Boston Globe                                           Business 2.0
   Chicago Tribune                                        Advertising Age
   Wall Street Journal                                    Brandweek
   Newsweek                                               NPR
   Time


UNIVERSITY SERVICE

Member: Dean's Advisory Group (1987-1989)

Member: Dean's Search Committee (1989-1990)

Member: MBA Core Review Task Force (1989-1990)

Doctoral Program Liaison for Marketing Area (1989-1990)

Member: Information Resources Policy Board (1992-4)

Area Coordinator for Marketing (1993-1994, 2009-)

Area Chair of Marketing (1996)

Member: MBA Expansion Committee (1996-1997)

Member: Curriculum Committee (1998-99)

Member: Faculty Advisory Committee – Strategy Review (1999-2000)

Member: Admission Committee (1999-2000)

Member: Academic Performance Committee (APC) (1999-2004)

Member: Dean’s Marketing Advisory Group (DMAG) (2000-2003)

Member: Strategy Review Committee (2005-2006)

Member: Ad Hoc Task Force on Globalization, Project 2012 (2006-2008)

Member: Executive Education Committee (2006-2009)

Member: Dean’s Executive Committee (2008-)

Doctoral Thesis Principal Adviser:

       Jennifer Aaker (thesis articles, “Dimensions of Brand Personality,” Journal of Marketing
               Research, 34 (August), 1997, 347-357 & “The Malleable Self: The Role of Self-
               Expression in Persuasion,” Journal of Marketing Research, 36 (February), 1999, 45-57)
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      Sheri Bridges (thesis article, "Explanatory Links and the Perceived Fit of Brand Extensions:
              The Role of Dominant Parent Brand Associations and Communication Strategies,"
              Journal of Advertising, 29 (4), 2000, 1-11)
      Christie Brown (thesis article, “Do the Right Thing: Diverging Effects of Accountability in a
              Managerial Decision Context,” Marketing Science, 18 (3), 1999, 230-246)
      Meg Campbell (thesis article, “When Attention-Getting Tactics Elicit Consumer Inferences
              of Manipulative Intent: The Importance of Balancing Benefits and Investments,”
              Journal of Consumer Psychology, 4 (3), 1995, 225-254)
      Yih Hwai Lee (thesis article, “Responses to Information Incongruency in Advertising: The
              Role of Expectancy, Relevancy, and Humor,” Journal of Consumer Research, 26 (2),
              1999, 156-169)

Doctoral Thesis Committee Member:

      Amna Kirmani
      Chan Su Park
      Rika Spencer
